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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                       )
In re:                                                 )    Chapter 11
                                                       )
ENERGY FUTURE HOLDINGS CORP., et al.,                  )    Case No. 14-10979 (CSS)
                                                       )
                                Debtors.1              )    (Jointly Administered)
                                                       )
                                                       )    Objection Deadline: December 8, 2015 at 4:00 p.m.
                                                       )

                                NOTICE OF FEE STATEMENT

                   PLEASE TAKE NOTICE that Deloitte & Touche LLP (the “Applicant”) has

today filed the attached Fourteenth Monthly Fee Statement for Compensation for Services

Rendered and Reimbursement of Expenses of Deloitte & Touche LLP as Independent

Auditor to the Debtors and Debtors-in-Possession for the Period of June 1, 2015 Through

June 30, 2015 (the “Fee Statement”) with the United States Bankruptcy Court for the District of

Delaware, 824 North Market Street, Wilmington, Delaware 19801 (the “Bankruptcy Court”).

                   PLEASE TAKE FURTHER NOTICE that objections, if any, to the Fee Statement

must be made in accordance with the Order Establishing Procedures for Interim Compensation

and Reimbursement of Expenses for Professionals, dated September 16, 2014 [D.I. 2066] (the

“Administrative Order”) and must be filed with the Clerk of the United States Bankruptcy Court

for the District of Delaware, 824 North Market Street, Wilmington, DE 19801, and be served

upon and received by (i) the above-captioned debtors and debtors in possession (collectively, the

“Debtors”), Energy Future Holdings Corp., et al., 1601 Bryan Street, 43rd Floor, Dallas, TX,

         1
          The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, which are being jointly administered on a final basis, a
complete list of the debtors and the last four digits of their federal tax identification numbers is not
provided herein. A complete list of such information may be obtained on the website of the debtors’
claims and noticing agent at http://www.efhcaseinfo.com.


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75201, Attn: Andrew M. Wright and Cecily Gooch; (ii) co-counsel to the Debtors, Kirkland &

Ellis LLP, 601 Lexington Avenue, New York, NY 10022, Attn: Brian E. Schartz and Kirkland

& Ellis LLP, 300 North LaSalle, Chicago, IL 60654, Attn: Chad Husnick; (iii) co-counsel to the

Debtors, Richards, Layton & Finger, P.A., 920 North King Street, Wilmington, DE 19801, Attn:

Daniel J. DeFranceschi and Jason M. Madron; (iv) Andrew R. Vara, the Acting United States

Trustee for Region 3, J. Caleb Boggs Federal Building, 844 King Street, Room 2207,

Wilmington, DE 19801, Attn: Richard L. Schepacarter and U.S. Department of Justice, Office of

the U.S. Trustee, U.S. Federal Building, 201 Varick Street, Room 1006, New York, NY 10014,

Attn: Andrea B. Schwartz; (v) counsel for the agent of the EFIH First Lien DIP Financing

Facility, Shearman & Sterling LLP, 599 Lexington Avenue, New York, NY 10022, Attn: Ned

Schodek and Fredric Sosnick; (vi) counsel for the agent of the TCEH DIP Financing Facility,

Milbank, Tweed, Hadley & McCloy LLP, 1 Chase Manhattan Plaza, New York, NY 10005,

Attn: Evan Fleck and Matthew Brod, (vii) counsel to the Official Committee of Unsecured

Creditors, Morrison & Foerster LLP, 250 W. 55th Street, New York, NY 10019, Attn: Lorenzo

Marinuzzi and Jennifer Marines, (viii) counsel to the fee committee, Godfrey & Kahn, S.C., One

East Main Street, Madison, WI 53703, Attn: Katherine Stadler, and (ix) the Applicant, Deloitte

& Touche LLP, 2220 Ross Avenue, Suite 1600, Dallas, TX 75201, Attn: Randy Stokx, by no

later than 4:00 p.m. (Eastern Standard Time) on December 8, 2015 (the “Objection

Deadline”).

                   PLEASE TAKE FURTHER NOTICE that if any responses or objections to the

Fee Statement are timely filed, served and received in accordance with this notice, a hearing on

the Fee Statement will be held at the convenience of the Bankruptcy Court.           Only those

objections made in writing and timely filed and received in accordance with the Administrative



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Order and the procedures described herein will be considered by the Bankruptcy Court at such

hearing.

                   PLEASE TAKE FURTHER NOTICE that, pursuant to the Administrative Order,

if no objection to the Fee Statement is timely filed, served and received by the Objection

Deadline, the Applicant may be paid an amount equal to the lesser of (i) 80 percent of the fees

and 100 percent of expenses requested in the Fee Statement or (ii) 80 percent of the fees and 100

percent of the expenses not subject to an objection without the need for further order of the

Bankruptcy Court.

                            [Remainder of page intentionally left blank.]




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Dated: November 17, 2015                   /s/ Jason M. Madron
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                                    Co-Counsel to the Debtors and Debtors in Possession




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